           Case
            Case2:14-cr-00399-KJD-EJY
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 6                              UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                       ) 2:14-CR-399-KJD-(GWF)
                                                     )
 9                          Plaintiff,               )
                                                     )
10            v.                                     ) Final Order of Forfeiture
                                                     )
11   LEE PANELLI,                                    )
                                                     )
12                          Defendant.               )
13           This Court found that Lee Panelli shall pay the in personam criminal forfeiture money

14 judgment of $340,550.92, not to be held jointly and severally liable with any codefendants,

15 pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section

16 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); Title 18, United States Code,

17 Section 982(a)(8)(B); and Title 21, United States Code, Section 853(p). Indictment, ECF No. 1;

18 Plea Agreement, ECF No. 272; Change of Plea, ECF No. 280; Preliminary Order of Forfeiture,

19 ECF No. 304.

20           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

21 United States recover from Lee Panelli the in personam criminal forfeiture money judgment of

22 $340,550.92 pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Title 18, United States Code,

23 Section 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); Title 18, United States

24 Code, Section 982(a)(8)(B); and Title 21, United States Code, Section 853(p).

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         Case
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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies

 2 of this Order to all counsel of record and three certified copies to the United States Attorney’s

 3 Office, Attention Asset Forfeiture Unit.

 4          DATED this 20          September
                       ___ day of ______________, 2016.

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 7                                                UNITED STATES DISTRICT JUDGE
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 1                                    PROOF OF SERVICE

 2        A copy of the foregoing was served upon counsel of record via Electronic Filing on

 3 September 20, 2016.

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 5
                                                       /s/ Priscila Matera Whalen
 6                                                   PRISCILA MATERA WHALEN
                                                     FSA Paralegal
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